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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

STEFANO GRANATA; : Civil Rights Complaint
JUDSON THOMAS, : 42 U.S.C. § 1983
COLBY CANNIZZARO; :

CAMERON PROSPERI;

THE GUN RUNNER, LLC;

and FIREARMS POLICY

COALITION, INC. :
Plaintiffs : CIVIL ACTION NO.

v.
MAURA HEALEY, in her official
capacity as Attorney General of the
Commonwealth of Massachusetts; and
THOMAS TURCO, in his official
capacity as Secretary of Executive
Office of Public Safety and Security
of the Commonwealth of

Massachusetts,
Defendants

Come now Plaintiffs Stefano Granata, Judson Thomas, Colby Cannizzaro, and Cameron
Prosperi (“Individual Plaintiffs”), THE GUNRUNNER, LLC (“Retailer Plaintiff’), and Firearms
Policy Coalition, Inc., (“Institutional Plaintiff’) (collectively “Plaintiffs”), and allege as follows:

INTRODUCTION

1. Under the auspices of an Approved Firearms Roster and related regulations
enforced by the Defendants in this action, the Commonwealth of Massachusetts bans the
commercial sale and transfer of numerous handguns otherwise in common use and widely
available for purchase throughout this country and which are thus protected “bearable arms” under
the Second Amendment to the United States Constitution, thereby leaving ordinary law-abiding

citizens with little to no means of lawfully acquiring any of these protected arms in the exercise of
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their fundamental constitutional right to keep and bear arms. Indeed, the number of handguns
available for commercial sale to ordinary individuals in Massachusetts is a small fraction of the
constitutionally protected handguns in common use and widely available throughout the county.
The laws and regulations underlying this regulatory scheme consist of (i) sections 123, clauses 18
to 21, 128, 131K, 131 % of chapter 140 of the Massachusetts General Laws (“M.G.L.”), (ii)
sections 7.00 through 7.16 of Title 501 of the Code of Massachusetts Regulations (“CMR”), and
(iii) sections 16.00 through 16.09 of Title 501 of CMR, as well as the related policies, practices,
and customs, implemented and enforced through Defendants’ Executive Office of Public Safety
and Security (“EOPSS”) (collectively referred to as the “Handgun Ban”).

2. Defendants’ Handgun Ban violates the Second and Fourteenth Amendments to the
United States Constitution and must be declared unconstitutional and enjoined. The plaintiffs in
this case seek this relief on behalf of themselves and all those similarly situated who have been
and will otherwise continue to be deprived of their fundamental constitutional right to keep and
bear handguns for self-defense and other lawful purposes.

JURISDICTION AND VENUE

3. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343,
2201, 2202 and 42 U.S.C. § 1983.

4, This Court has personal jurisdiction over each of the Defendants because, inter alia,
at all times relevant to the allegations in this Complaint, each has unconstitutionally acted,
continues to act, and threatens to act under the color of laws, policies, customs, and/or practices of
the Commonwealth of Massachusetts, and each has done So, continues to do so, and threatens to
do so within the geographic confines of the Commonwealth of Massachusetts.

5. Venue is proper pursuant to 28 U.S.C. § 1391.
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6. The Eastern Division of this Court is appropriate pursuant to Local Rule
40.1(d)(1)(C) because all parties that reside in the District reside in the Eastern Division.
PARTIES

7. Plaintiff Stefano Granata is a natural person residing in North Reading, Middlesex

County, Massachusetts.

8. Plaintiff Judson Thomas is a natural person residing in Nantucket, Nantucket
County, Massachusetts.

9. Plaintiff Colby Cannizzaro is a natural person residing in Granville, Hampden
County, Massachusetts.

10. Plaintiff Cameron Prosperi is a natural person residing in Three Rivers, Hampden
County, Massachusetts.

11. ‘Plaintiff The Gunrunner, LLC is a limited liability company organized under
Massachusetts law with its office in Middleborough, Plymouth County, Massachusetts. Plaintiff
The Gunrunner, LLC is a firearms retailer licensed to sell and transfer firearms under federal law
and the law of the Commonwealth.

12. Plaintiff Firearms Policy Coalition, Inc, (“FPC”) is a nonprofit organization
incorporated under the laws of Delaware with a place of business in California. The purposes of
FPC include defending and promoting the People’s rights—especially but not limited to Second
Amendment tights—advancing individual liberty and restoring freedom. FPC serves its members
and the public through legislative advocacy, grassroots advocacy, litigation and legal efforts,
research, education, outreach, and other programs. FPC has members in the Commonwealth of
Massachusetts, including Plaintiffs Granata, Thomas, Cannizzaro, Prosperi, and The Gunrunner,
LLC. FPC represents its members and Supporters—who include individual gun owners and other

law-abiding persons who wish to purchase new from a licensed retailer, for self-defense and other

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lawful purposes, handguns which are banned under the Handgun Ban, like Individual Plaintiffs,
licensed Massachusetts firearm retailers like Retailer Plaintiff, shooting ranges, trainers and
educators, and others—and FPC brings this action on behalf of itself, its members, supporters who
possess all the indicia of membership, and similarly situated members of the public.

13. Defendant Maura Healey (“Defendant Healey”) is sued in her official capacity as
Attorney General of the Commonwealth of Massachusetts, an independent constitutional officer
responsible for regulating, implementing, and enforcing the Commonwealth’s laws and
regulations related to the sales, transfer, possession, and ownership of firearms which collectively
comprise the Handgun Ban and cause the injuries complained of herein. Defendant Healey has
authority to cease such enforcement of the Handgun Ban consistent with the relief Plaintiffs seek
through this action. See M.G.L. c. 12 § 1 and § 3. As detailed herein, Defendant Healey has
enforced, is in fact presently enforcing, and threatening to enforce the challenged laws, regulations,
policies, practices, and customs underlying the Handgun Ban, and in doing so is actively subj ecting
and will continue to subject Individual Plaintiffs, Retailer Plaintiff, the members and supporters of
Institutional Plaintiff, and all those similarly situated to the constitutional injuries complained of
in this action.

14. Defendant Thomas Turco (“Defendant Turco”) is sued in his official capacity as
Secretary of the Commonwealth’s Executive Office of Public Safety and Security (EOPSS), an
independent constitutional office within the Executive branch. See
https://budget.digital.mass.gov/bb/gaa/fy2019/ app_19/ga_19/hcdefault.htm#agencies;
htt; )s://oudget.digital.mass.gov/bb/gaa/fy 2019/app_19/ga_19/hcnon.htm"
hitps://budget.di gital.mass. gov/bb/gaa/ fy2019/app_19/ ga_19/hcnon.htm. Defendant Turco is

responsible for overseeing the Firearms Records Bureau (FRB) through his Department of
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Criminal Justice Information Services (DCJIS) and is thus responsible for regulating and enforcing
the Commonwealth’s laws and regulations related to the sales, transfer, possession, and Ownership
of firearms which collectively comprise the Handgun Ban and cause the injuries complained of
herein. Defendant Turco has authority to cease such enforcement of the Handgun Ban consistent
with the relief Plaintiffs seek through this action. See M.G.L. c. 6A § 2 and § 3. As detailed herein,
Defendant Turco has enforced, is in fact presently enforcing, and threatening to enforce the
challenged laws, regulations, policies, practices, and customs underlying the Handgun Ban, and in
doing so is actively subjecting and will continue to subject Individual Plaintiffs, Retailer Plaintiff,
the members and supporters of Institutional Plaintiff, and all those similarly situated to the
constitutional injuries complained of in this action.
STATEMENT OF FACTS

Constitutional Background

15. The Second Amendment to the United States Constitution provides: “A well-
regulated Militia being necessary to the security of a free State, the right of the people to keep and
bear Arms shall not be infringed.”

16. The Fourteenth Amendment to the United States Constitution provides in pertinent
part: “No state shall make or enforce any law which shall abridge the privileges or immunities of
citizens of the United States; nor shall any state deprive any person of life, liberty, or property,
without due process of law; nor deny to any person within its jurisdiction the equal protection of
the laws.”

17. The Second Amendment is fully applicable to the States through the Fourteenth
Amendment’s Due Process and Privileges or Immunities Clauses. McDonald v. City of Chicago,

561 U.S. 742, 750 (2010); id. at 805 (Thomas, J., concutring).
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18. The Second Amendment “guarantee[s] the individual right to possess and carry
weapons in case of confrontation,” District of Columbia vy, feller, 554 U.S, 5 70, 592 (2008). And
it “elevates above all other interests”—including the Commonwealth’s claimed public safety and
general welfare interests in the Handgun Ban—<the right of law-abiding, responsible citizens to
use arms in defense of hearth and home.” /d at 635,

19. The “central” holding of the Supreme Court in Heller is “that the Second
Amendment protects a personal right to keep and bear arms for lawful purposes, most notably for
self-defense within the home,” McDonald, 561 U.S. at 780. And the “quintessential” firearm for
self-defense in America is the handgun. Heller, 554 U.S. at 629.

20. “The very enumeration of the right takes out of the hands of government—even the
Third Branch of Government—the power to decide on a case-by-case basis whether the right is
really worth insisting upon.” Heller, 554 U.S. at 634 (emphasis Original).

21. “Just as the First Amendment protects modern forms of communications, ... and
the Fourth Amendment applies to modern forms of search, ... the Second Amendment extends,
prima facie, to all instruments that constitute bearable arms, ¢ven those that were not in existence
at the time of the founding,” Heller, 554 U.S, at 582 (internal citations omitted); accord Caetano
v. Massachusetts, 577 US. 411, 416 (2016) (Alito, J., concurring). Thus, this protection extends
to all firearms currently in common use that are not both “dangerous per se” and “unusual.”

Caetano at 417 (“A weapon may not be banned unless it is both dangerous and unusual.”) (italics

22, “Dangerous per se” does not include the mere inherent propensity of a firearm to
cause injury. Caetano, 577 US. at 418 (“firearms cannot be categorically prohibited just because

they are dangerous” in the general sense of the term). Indeed, “the relative dangerousness of a
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weapon is irrelevant when the weapon belongs to a class of arms commonly used for lawful
purposes.” Jd. “Heller defined the ‘Arms’ covered by the Second Amendment to include “any
thing that a man wears for his defence, or takes into his hands, or useth in wrath to cast at or strike
another.” Jd, (quoting Heller, 554 U.S. at 581) (quoting 1 Dictionary of the English Language
106 (4th ed.) (reprinted 1978)) (italics original in Caetano). And an arm is not “unusual” SO as to
fall outside the ambit of this protection so long as it is “commonly possessed by law-abiding
citizens for lawful purposes today.” Id. at 420 (italics original). Handguns in this country are not
only not “unusual” but are recognized as “the quintessential self-defense weapon.” Heller, 554
USS. at 629.

23. Even “[cJommercial regulations on the sale of firearms do not fall outside the scope
of the Second Amendment[.]” United States v. Marzzarella, 614 F.3d 85, 92, n. 8 (3d Cir. 2010).
Indeed, “prohibiting the commercial sale of firearms . . . would be untenable under Heller.” Id.

24. —‘ Thus, law-abiding citizens in Massachusetts have a fundamental constitutional right
to keep and bear arms, including but not limited to, buying, selling, transferring, transporting,
carrying, and practicing safety and proficiency with, firearms—especially the handgun as the
firearm “overwhelmingly chosen by American society” for self-defense, Heller, 554 U.S. at 628—
as well as ammunition, magazines, and appurtenances, under the Second and Fourteenth
Amendments.

25. And this right extends to aiJ firearms in common use for self-defense and other
lawful purposes. Caetano, 577 U.S. at 420. So, the fundamental, individual right to keep and bear
firearms in Massachusetts and the rest of the country includes the ri ght to acquire common, modern
handguns in common use for self-defense and other lawful purposes—indeed, arms that are

lawfully sold and possessed throughout the United States.
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Massachusetts’ Handgun Ban
26. The laws and regulations underlying Massachusetts’ Handgun Gun, and the
policies, practices, and customs designed to enforce the same, which are challenged in this action
as in violation of the Second Amendment, prevent law-abiding citizens, including Individual
Plaintiffs, the members and supporters of Institutional Plaintiff, and similarly situated members of

the public, from purchasing, acquiring, and ultimately possessing numerous “instruments that

constitute bearable arms” under the Second Amendment as arms in common use and widely

outlaw these protected arms.

27. Specifically, in Massachusetts, the sale, transfer, rental, and lease of all “firearms”
is strictly regulated, A “firearm” includes any pistol, revolver, or “other weapon of any description,
loaded or unloaded, from which a shot or bullet can be discharged and of which the length of the
barrel or barrels is less than 16 inches or 18 inches,” i.e., all handguns. M.G.L. c. 140, § 121. Itis
generally unlawful for anyone except “licensed dealers” to “own or possess” a firearm without
first applying for and being granted a Firearms Identification card (“FID”) or a License to Carry
Firearms (“LTC”). See M.G.L. ¢. 140, §§ 128, 129B-129C: id. , 269, § 10(a).

28. ~— And itis generally unlawful for anyone to sell, rent, lease, or otherwise transfer any

criminal and civil penalties from delivering, selling, renting, leasing, or otherwise transferring any
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firearm to anyone who does not have both a valid permit to purchase a firearm issued pursuant to
M.G.L. c. 140, § 131A, and an FID, unless the transferee happens to hold a LTC or happens to
meet one of the narrow set of special exemptions to these general restrictions. M.G.L. c. 140, §§
123, cl. 7-8, 131E(b).

29. On top of that, it is generally illegal for a licensee (and any other person or entity
involved in the chain of commercial supply or distribution of firearms) to sell, rent, lease, transfer,
or deliver any firearm that does not meet the specifications established from time to time by the
Commonwealth’s “gun control advisory board” as being necessary for inclusion on the
Massachusetts “Approved Firearms Roster” (“Handgun Roster”). M.G.L. c. 140, §§ 123, cl. 18-
21, 131 %; 501 CMR 7.02 — 7.07. See https://www.mass. gov/doc/approved-firearms-roster-
7/download (last visited April 29, 2021). Only firearms lawfully owned or possessed under a
license issued before October 21, 1998 are exempted from this prohibition. M.G.L. ¢. 140, § 123.
Licensees are further constrained in their ability to lawfully engage in the sale and transfer of
firearms by the “Attorney General’s Handgun Sales Regulations,” i.e., 940 CMR 16.00, et seq.,
and “Enforcement Notices.”

30. As the disclaimer on the Handgun Roster itself declares:

Massachusetts licensed firearms dealers should note that the transfers of handguns

are also subject to the Attorney General’s Handgun Sales Regulations, 940 CMR

16.00, et seq. Firearms on this Approved Firearms Roster do not necessarily comply

with the requirements of the Attorney General’s Handgun Sales Regulations.

Information about those regulations, as well as the Enforcement Notice may be

obtained from the Office of the Attorney General and may be accessed on the

website of the Attorney General (www.ago.state.ma.us" Www.ago.state.ma.us).
https://www.mass. £0v/doc/approved-firearms-roster-7/download. Enforcement Notice #3, from

February 2002, still featured on the Attorney General’s website, further declares that the legality

of a licensee’s transfer of a firearm is contingent on the firearm’s having the child safety features
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and tamper resistant serial numbers specified in 940 CMR 16.03 and 16.05, and, when it is a
semiautomatic handgun, the load indicators and magazine safety disconnects specified in 940
CMR 16.05. The notice warns that “fiJf a handgun does not satisfy these three additional
requirements, then it is a violation of the regulations for a handgun purveyor! to transfer that
handgun even if the handgun is listed on the Approved Firearms Roster,”
https:/Avww.mass. gov/files/documents/201 6/12/we/ag-handgun-regulation-enforcement-
notices.pdf (last visited April 29. 2021).

31. A licensee’s violation of the restrictions imposed by this regulatory scheme is not
only a crime, M.G.L. c. 140, § 128, but also constitutes an unfair and deceptive trade practice
subjecting the violator to significant civil penalties, 940 CMR 16.01 — 16.06.

32. The sale, rental, lease, or other transfer of firearms by or to non-licensed individuals
is subject to even greater restrictions. The general prohibition against the sale, rental, lease, or
other transfer of firearms continues to apply, subjecting the transferor to the criminal penalties
established under M.G.L. c. 140, § 128, unless the transaction fits within one of the following set
of narrow exceptions for lawful transfers:

1. The transfer is to a dealer licensed under state or federal law;

2. The transfer is to a historical society, museum, or institutional collection
open to the public; or

3, The transfer is to someone other than a licensed dealer, a historical society,
museum, or institutional collection open to the public, and all of the

following are true:

 

| A “handgun purveyor” is defined as “any person or entity that transfers handguns to a
customer located within the Commonwealth of Massachusetts,” excluding those who transfer
fewer than five handguns per year. 940 CMR 16.01

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a, The transferor has a valid FID or LTC or is exempted from such
requirements under M.G.L. c. 140, § 129C(4)(n), (0), (0), or (s) (which apply
to transfers involving legatees, military or law enforcement officers,
chartered veteran’s organizations, or historical societies, museums, or
institutional collections open to the public);

b. The transferee has (i) a purchase permit and an FID, (ii) a purchase
permit and is exempt from the FID requirement, or (iii) an LTC:

c. The transferor makes no more than four such transfers of firearms,
including rifles and shotguns, in any one calendar year; and

d. The transferee reports the transfer to the Commonwealth department
of justice within seven days of the firearm’s receipt, which report must
specifically identify both the transferor and the firearm.

M.G.L. c. 140, §§ 128A, 128B, 131E.

33. Consequently, licensed retailers are absolutely precluded from transferring any
handguns not included on the Handgun Roster and any other handguns prohibited by the Defendant
Healey’s Handgun Sales Regulations (except grandfathered handguns from before October 21,
1998). All unlicensed individuals are precluded from transferring any handguns (whether on or off
the Handgun Roster and whether approved or unapproved under the Handgun Sales Regulations)
to any ordinary, law-abiding citizens who lack the necessary purchase permits, FID, or special
exemptions, and even then, they are limited to four such transfers in any one year.

34. Obtaining a purchase permit, FID, or LTC for purposes of acquiring a handgun
requires meeting specific statutory criteria based on the applicant’s age, personal background, and

satisfaction of mandated firearms training, and, even then, the granting of these statutory creatures

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is discretionary. Purchase permits are subject to the licensing official’s subjective determination
that the purchase, rental, or lease of the firearms “is for a proper purpose,” and the official “may
revoke such permit at will.” M.G.L. c. 140, § 131A. Licensing officials may deny FIDs or LTCs
based on their subjective determination that the applicant “could potentially create a risk to public
safety” and is therefore “unsuitable.” M.G.L. c. 140, §§ 129B, 129B(1'%4), 131A, 131(d)(i)-(x).

35. As a result of this stringent regulatory scheme, ordinary law-abiding citizens of
Massachusetts are left with very limited opportunity to lawfully acquire any handgun, including
any handgun approved for commercial sale under the Approved Handgun Roster and the Handgun
Sales Regulations, much less one excluded from the Handgun Roster or prohibited by the Sales
Regulations. Indeed, because licensed retailers are prohibited from transferring any off-Roster or
otherwise unapproved handguns (except whatever decades-old, grandfathered handguns may still
exist in the market), all ordinary law-abiding citizens—even those bearing the coveted purchase
permits, FIDs, and LTCs—are relegated to a secondary market of non-licensed transferors who
may transfer no more than four firearms, including shotguns and rifles, in an entire year, and thus
who necessarily deal in limited supplies.

36. | On information and belief, the handguns approved for commercial sale to ordinary
law-abiding citizens under Defendants’ Handgun Roster and Handgun Sales Regulations represent
a small fraction of the total number of commercially available handgun makes and models which
are constitutionally protected arms in common use for self-defense and other lawful purposes
throughout all or the vast majority of the United States. And ordinary law-abiding Massachusetts
residents cannot simply look outside the Commonwealth borders to purchase or acquire any of
these handguns banned by the Handgun Roster and the Handgun Sales Regulations because federal

law requires the use of an in-state licensed dealer to facilitate any purchase or delivery of a handgun

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from an out-of-state seller, 18 U.S.C. §§ 922(a)(3), 922(a)(5), and, of course, the in-state dealer

handguns not included on the Handgun Roster and otherwise prohibited under the Handgun Sales
Regulations.

37. Thus, ordinary law-abiding citizens seeking to exercise their constitutional right to
keep and bear arms with a handgun—“the quintessential self-defense weapon” in America, Heller,
554 U.S. at 629—are generally relegated a secondary market of inherently limited supply, and

largely consisting of used handguns having no manufacturer’s warranty, with sellers who cannot

reach of the regulations designed to protect consumers against unfair and deceptive practices,
including the protections against the sale of defective or unsafe firearms.”

38. Ultimately then, ordinary law-abiding citizens in Massachusetts are left with little,
if any, realistic means of lawfully acquiring any of the numerous handguns banned under the
Handgun Roster and Handgun Sales Regulations which are otherwise in common use and widely
available outside their Commonwealth for purposes of lawfully exercising their constitutional ri ght
to keep and bear arms.

39. By outright banning the commercial sale of any handgun not included on the
Handgun Roster and not otherwise prohibited by the Handgun Sales Regulations, including the
many handguns otherwise in common use for self-defense and other lawful purposes, and also

severely limiting—if not cutting off entirely—any other opportunity for ordinary law-abiding

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2 See 940 CMR 16.01 — 16.06. These regulations only apply to “handgun purveyors,” who
expressly do not include those who “transfer[] less than five handguns per year.” 940 CMR 16.01.

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citizens to lawfully acquire any such firearm, Defendants? Handgun Ban effectively operates as a
bar to the exercise of the fundamental right to bear protected arms.

40. Defendants’ Handgun Ban Tepresents a policy choice of the Commonwealth
regarding which protected arms in common use it believes should and should not be made available
to its citizens—a choice that “the enshrinement of constitutional rights” under the Second
Amendment has taken “off the table.” Heller, 554 US. at 636.

41. And such a blanket set of prohibitions against a class of protected arms is
categorically unconstitutional; that is the essence of the ban the Supreme Court struck down as
categorically unconstitutional in the seminal Heller case. Heller, 554 U.S. at 628 (striking down a
handgun ban where it “amount[ed] to a prohibition of an entire class of ‘arms’ that is
overwhelmingly chosen by American society” for self-defense purposes).

42. Moreover, even setting aside its categorically unconstitutional nature and
entertaining the Commonwealth’s claimed interest in promoting public safety and general welfare,
the ban sweeps far too broadly, as any such interest in handgun safety could be adequately achieved
through readily available and easily implemented less restrictive alternatives, including producing,
providing, and encouraging education, training, and public outreach regarding basic rules of
firearm safety, storage, and use.

43. Indeed, the Commonwealth maintains a website on which it has posted what it calls
the “basic rules of firearm safety” and advises its citizens to “[flollow these procedures to stay

safe.” https://www.mass. gov/service-details/firearms-safety (last visited May 6, 2021). These

as necessary or even helpful for law-abiding gunowners “to stay safe” in the use of firearms, much

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in maintaining the Handgun Ban to ensure “safe” firearm use and underscores the reality that less
restrictive alternatives, in the way of proper education and training, do in fact exist.

44. Indeed, all the safety devices and features required for inclusion on the Handgun

So, it is irresponsible, unsafe, and ultimately ineffective to rely on such “safety” devices,
Significantly, on information and belief, the safety features that the Commonwealth mandates are
not present on many of the handguns otherwise in common use and widely available around the
country, including for example, loaded chamber indicators, “childproofing protection” features,
and/or magazine safety disconnect mechanisms, Additionally, on information and belief, handguns
that have not passed the Commonwealth’s “Handgun Drop Test” are constitutionally protected
arms in common use for self-defense and other lawful purposes throughout the United States.

45. Ironically, some of Massachusetts’ “safety” requirements, such as the mandated 10-

duty handguns, see e. g., htt ps://projects.nfstc.org/t firearms/module07/fir_m07_t05 _03 .htm—make
handguns so outfitted more difficult to operate effectively and thus more difficult to operate safely.

46. The attributes, systems, and “safety” devices required under Massachusetts’
Handgun Ban simply cannot replace safe and responsible gun handling or education based on the
fundamental rules of firearm safety, and, for the same reason, the absence of such features cannot
justify their outright ban under the Handgun Roster and Handgun Sales Regulations, especially

when the handguns are constitutionally protected arms and numerous such handguns are otherwise

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in common use and widely available. And, fundamentally, such arms simply cannot be banned,
particularly not without any reasonable degree of tailoring—much less narrow tailoring—in
relation to the claim interest. See Packingham v. North Carolina, U.S. __» 1378. Ct. 1730, 1736
(2017) (even under intermediate scrutiny, a law must be “narrowly tailored to serve a significant
governmental interest”),
Injury to the Plaintiffs

47. Plaintiff Granata currently holds a valid LTC in the Commonwealth. Plaintiff

Granata desires to purchase one or more handguns that are unlawful for sale and transfer to him

under the Handgun Ban being enforced by Defendants. But for the Handgun Ban and Defendants’

defense and other lawful purposes, one or more of the following handguns which are prohibited
from commercial sale by the Handgun Ban: a fifth generation Glock 19, a Sig Arms Model 191]
“We the People” edition, and/or a Sig Arms Model 1911 “TacOps” edition. All these handguns
are in common use for self-defense and other lawful Purposes, are widely sold and possessed
outside of Massachusetts, and are thus constitutionally protected arms under the Second
Amendment that cannot be banned. Plaintiff Granata is a member of Firearms Policy Coalition.

48, Plaintiff Thomas holds a valid LTC in the commonwealth. Plaintiff Thomas desires
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Custom Heinie Signature Recon. All these handguns are in common use for self-defense and other
lawful purposes, are widely sold and possessed outside of Massachusetts, and are thus
constitutionally protected arms under the Second Amendment that cannot be banned. Plaintiff
Thomas is a member of Firearms Policy Coalition.

49. Plaintiff Cannizzaro holds a valid LTC in the commonwealth. He has honorably
served six years in the Air Force reserves, he has served as a law enforcement officer for four

years, and he has completed numerous hours of law enforcement firearms training. Plaintiff

50. Plaintiff Prosperi holds a valid LTC in the Commonwealth. He has served in law

Prosperi would purchase new from a licensed retailer, for self-defense and other lawful purposes,

one or more of the following handguns which are prohibited from commercial sale by the Handgun

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Ban: a CZ Tactical Sport, CZ Tactical Sport Orange, Beretta 92X Performance, and/or a CZ P-
10F. All these handguns are in common use for self-defense and other lawful purposes, are widely
sold and possessed outside of Massachusetts, and are thus constitutionally protected arms under
the Second Amendment that cannot be banned. Plaintiff Prosperi is a member of Firearms Policy
Coalition.

51. Plaintiff The Gunrunner, LLC, is a state and federally licensed handgun-purveyor

that would, but for the Handgun Ban and Defendants’ enforcement thereof, make available for sale

self-defense and other lawful Purposes that are widely sold and possessed outside of Massachusetts
but are banned under Defendants’ Handgun Roster and Handgun Sales Regulations, and Plaintiff
The Gunrunner, LLC would sell and transfer them to law-abiding customers, including, but not
limited to, those off-Roster and unapproved handguns sought by Individual Plaintiffs, members
and supporters of Institutional Plaintiff, and all similarly situated individuals. Plaintiff The
Gunrunner, LLC brings this action on behalf of itself and all such would-be law-abiding
purchasers, including Individual Plaintiffs, as well as on behalf of all similarly situated licensed
retailers who are prevented from conducting such transactions.

52. FPC brings this action on behalf of itself, its members, including the named
Plaintiffs herein, supporters who possess all the indicia of membership, and similarly situated
members of the public.

53. FPC’s members and supporters, and those similarly situated, have been adversely
and directly harmed by Defendants’ enforcement of the laws, regulations, policies, ptactices, and

customs challenged herein.

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54.  FPC reasonably fears the prosecution of its members and Supporters, and those
similarly situated, by and through the credible threat of Defendants’ ongoing enforcement of the
laws, regulations, policies, practices, and customs challenged herein.

55. FPChas expended and diverted resources because of Defendants’ enforcement and

resultant policies, practices, and customs challenged herein.

COUNT I
DEPRIVATION OF CIVIL RIGHTS
RIGHT TO KEEP AND BEAR ARMS
U.S. CONST., AMENDS. IT AND XIV, 42 U.S.C. § 1983
56. Plaintiffs incorporate herein by reference the foregoing paragraphs as if fully set
forth herein.

57. Defendants’ laws, regulations, policies, practices, and customs establishing,

widely available for self-defense and other lawful purposes throughout the country, thereby
leaving all ordinary law-abiding individuals with little to no other means of lawfully acquiring any
of these protected arms in the exercise of their fundamental constitutional right to keep and bear

arms for self-defense and other lawful purposes.

58. Upon information and belief, Defendants are individually and collectively
responsible for the formulation, issuance, and/or implementation of the laws, policies, practices,

and customs underlying the Handgun Ban at issue in this case.

59. Defendant Attorney General Healey has enforced and continues to enforce the
Handgun Ban through the criminal and civil penalties established under the laws and regulations

controlling the sales, transfer, possession, and ownership of firearms—specifically, M.G.L. ¢. 140

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abiding individuals from purchasing, selling, transferring, and otherwise acquiring for self-defense
and other lawful purposes handguns that are constitutionally protected arms categorically in
common use for self-defense and other lawful purposes, in Violation of Plaintiffs’ and similarly
situated persons’ fundamental rights protected under the Second and Fourteenth Amendments to
the United States Constitution.

62. By preventing responsible, law-abiding individuals from purchasing, selling,
transferring, and otherwise acquiring for self-defense and other lawful purposes constitutionally
protected firearms, as they are entitled to do under the Constitution, Defendants have violated
Plaintiffs’ rights, and the rights of those similarly situated, under the Second and Fourteenth
Amendments,

63. Again, “(t]he very enumeration of the [Second Amendment] right takes out of the
hands of government . . . the power to decide on a case-by-case basis whether the right is really

worth insisting upon.” Heller, 554 U.S. at 635 (emphasis in original),

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64. The Second Amendment is not a “second-class right, subject to an entirely different
body of rules than the other Bill of Rights guarantees,” McDonald, 561 U.S. 742, 780, and it cannot
“be singled out for special—and specially unfavorable—treatment,” id. at 778-79,

65. Massachusetts’ claimed interests in public safety certainly cannot and do not take
priority over the Constitution’s textual enshrinement of a fundamental tight that “elevates above
all other interests the right of law-abiding, Tesponsible citizens to use arms in defense of hearth
and home,” Heller, 554 U.S. 570 at 635, especially when the Commonwealth has not even
considered or attempted to implement any less restrictive alternatives to its outright prohibition of
these arms.

66. States do not have the power to prohibit the purchase, Possession, transfer, or other
acquisition of handguns that Defendants’ Handgun Ban prevents law-abiding people from
purchasing, selling, transferring, and acquiring for self-defense and other lawful purposes,

67. As to all claims made in a representative capacity herein, there are common

68. Considerations of necessity, convenience, and justice justify relief to Individual,
Retailer, and Institutional Plaintiff in a Tepresentative capacity.

69. Defendants have enforced and will continue to enforce their unconstitutional laws,
laws, policies, practices, and customs against Individual Plaintiffs, Retailer Plaintiff and its
customers, Institutional Plaintiff's members and supporters, and similarly situated persons unless

and until enjoined by this Court as Plaintiffs request herein.

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70. Plaintiffs and Plaintiffs’ members, supporters, and customers reasonably fear that
Defendants will enforce against them their laws and related enforcement policies, practices, and
customs that implement and are designed to implement Massachusetts’ Handgun Ban.

71. Defendants’ active enforcement of the Handgun Ban is evidenced by the
prosecution of Massachusetts resident Michael A. Wheelock, who faced criminal charges
stemming from the alleged sale of firearms not approved for sale in Massachusetts,
(https://www.metrowestdail ynews.com/article/201 30404/NEWS/304049215) _ (last___visited
5/6/2021).

72. Defendants? laws, policies, practices, customs, and ongoing enforcement against

other acquisition of constitutionally protected arms for self-defense and other lawful purposes, are
thus causing injury and damage that is actionable under 42 U.S.C. § 1983.
73. Plaintiffs thus seek declaratory and permanent injunctive relief.
PRAYER

WHEREFORE, Plaintiffs pray for the following relief:

1, A declaratory judgment that the Commonwealth’s laws, and Defendants’
regulations, policies, practices, and customs underlying the Handgun Ban, and enforcement
thereof, individually and collectively prohibit the purchase, sale, possession, transfer, and other
acquisition for self-defense and other lawful purposes of constitutionally protected handguns in
common use for self-defense and other lawful purposes, and thus violate the Second and

Fourteenth Amendments;

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2. A permanent injunction restraining Defendants and their officers, agents, servants,
employees, and all Persons in concert or participation with them, and all who have notice of the
injunction, from enforcing the Commonwealth’s laws, and Defendants’ regulations, policies,
practices, and customs underlying the Handgun Ban, and enforcement thereof, that individually
and collectively prohibit the purchase, sale, Possession, transfer, and other acquisition for self-
defense and other lawful purposes of constitutionally protected handguns in common use for self-

defense and other lawful purposes;

may be necessary to effectuate the Court’s judgment, or as the Court otherwise deems just and
equitable; and
4, Attorney’s fees and costs (including incidental costs such as expert witness fees)

pursuant to 42 U.S.C. § 1988 and any other applicable law.

DATED: June 8, 2021
Respectfully submitted,

The Plaintiffs,

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Pro Hac Vice Application Forthcoming

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CERTIFICATE OF SERVICE

/s/ Richard C. Chambers, Jr. Esq.
Richard C., Chambers, Jr., Esq.

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